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                             Exhibit A
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                                     (/)




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Judges [/history/judges]




Vera, Hernán Diego
Born 1970 in Escondido, CA

Federal Judicial Service:
Judge, U.S. District Court for the Central District
of California
Nominated by Joseph R. Biden on January 3,
2023, to a seat vacated by Margaret M. Morrow.
Confirmed by the Senate on June 13, 2023, and
received commission on June 15, 2023.

Education:
Stanford University, B.A., 1991
University of California, Los Angeles, School of
Law, J.D., 1994


Professional Career:
Private practice, Los Angeles, California, 1994-
1995, 1997-2002, 2015-2020
Law clerk, Hon. Consuelo B. Marshall, U.S.
District Court for the Central District of California,
1995-1996
Staff attorney, Mexican American Legal Defense
and Educational Fund, Los Angeles, California,
1996-1997
Public Counsel, Los Angeles, California, 2002-
2014; directing attorney, Consumer Law Project,
2002-2008; president and CEO, 2008-2014
Judge, Edelman Children's Court, Superior Court
of California, County of Los Angeles, 2020-2023
OtherCase 2:23-cv-07593-HDV-KS
      Nominations/Recess       Document 41-2 Filed 04/04/24 Page 3 of 3 Page ID #:1326
                         Appointments:
Nominated to U.S. District Court for the Central
District of California, September 20, 2021; no
Senate vote
Nominated to U.S. District Court for the Central
District of California, January 3, 2022; no Senate
vote
